                                                                                  c:       .....,
                                                                                 %~        -...., -n
                                                                                           ~




                                                                                                     -rn
                                                                                           C lO
                              UNITED STATES DISTRICT COURT                       Me
                                                                                 ~-         rn
                                                                                  (j)       co
                                 DISTRICT OF CONNECTICUT
                                                                                 :'1:-4
                                                                                 ~:;o       \.1.)
                                                                                                     I
                                                      3·· \~M-j I q2~H)
                                                                                  ~-n
                                                                                  rn_.
STATE OF CONNECTICUT                                                              7-
                                                                                  . n
                                                                                             -o      0
                                                      ~ 3,2018
                                                                                  C'10        'y;J
                                                                                  ;-IC
                                                                                     :;o
                                                                                     -4         C>


COUNTY OF NEW HAYEN                                   FILED UNDER SEAL


                                           AFFIDAVIT

        I, James Kaminski, being duly sworn, state as follows:

                                           Introduction

        1.     I am a Special Agent of the Federal Bureau oflnvestigation ("FBI"), and have

been so employed for approximately 15 years. I am presently assigned to the Public Corruption

Squad in the New Haven Division of the FBI, where I investigate, among other things, public

corruption and related financial crimes. I have also received training and gained experience in

interviewing and interrogation techniques, arrest procedures, search warrant applications, the

execution of searches and seizures, and various other criminal law procedures. Through my

training, education, and experience, I have become familiar with a variety of fraud schemes,

particularly contract fraud and false claims filed with the government.

       2.      As a Special Agent ofthe FBI, I am authorized to investigate violations of the

laws of the United States, and I have received specialized training in the investigation of various

violations of Title 18 of the United States Code and related forms of fraud against the

government.
        3.     I am investigating a fraud scheme by Darrin Lamore, resident of Enfield, CT. I

make this affidavit in support of the Government's application for a criminal complaint and an

arrest warrant for Darrin Lamore for theft from a program receiving federal funds in violation

of Title 18, United States Code, Section 666.

         4.    From in or about June 2012 through in or about October 2015, Lamore held a paid

position as the executive director of the Enfield Community Development Corporation ("ECDC").

The ECDC was a non-profit private corporation. The ECDC oversaw economic development

projects in Enfield, Connecticut, primarily in a geographic area known as "Thompsonville."

        5.     Co-Conspirator A was an employee of the Town of Enfield and one of the

individuals with authority over how ECDC money was spent.

        6.     The Community Development Block Grant ("CDBG") is a program of the United

States Department of Housing and Urban Development, and funds local community development

activities such as affordable housing, anti-poverty programs and infrastructure development. The

State of Connecticut Department of Housing administers the CDBG grants within the State of

Connecticut.

        7.     Brownfield grants are grants provided by the federal government's Environmental

Protection Agency to communities, states, tribes and others to assess, clean and reuse contaminated

properties.

       8.      The Connecticut Department of Economic and Community Development

("DECD") 1s a Connecticut state agency tasked with promoting economic development in

Connecticut's towns and cities.



                                                2
        9.      To fund its activities, the ECDC received funding from the CDBG and Brownfield

grants and the DECD.

        10.     On or about June 11, 2012, Co-Conspirator A emailed Lamore, informing him that

only 20% of CDBG grant money could be used for administrative costs, which included salaries.

        11.     On or about June 21, 2012, Lamore emailed Co-Conspirator A regarding the

ECDC's plan to publicly advertise for applicants for the position ofECDC director, a position that

Lamore and Co-Conspirator A had discussed creating for Lamore. In the email Lamore wrote,

"Then looks like I should look for another job. Unless that's just to cover us."

        12.     On or about June 21, 2012, Co-Conspirator A responded to Lamore saying "It's a

cover," and stated in a subsequent email, "Damn laws and regs."

        13.     On or about June 21, 2012, Lamore wrote to Co-Conspirator A saying, "I'm fine

with any of it, just planning how I can eat."

        14.     On or about July 18, 2012, Co-Conspirator A wrote to Lamore saying, "We have

to pass you off as a Grants Management consultant. Which should be easy since we work in the

same office."

        15.     On or about October 30, 2012, Co-Conspirator A falsely certified to the State of

Connecticut that between July 1, 2012 and September 30, 2012, the ECDC had used CDBG funds

for $15,443.09 of down payment assistance, when in fact approximately $11,840 of that amount

was used for Lamore's salary. Co-conspirator A also certified that $0 were spent on administrative

costs such as salaries.

        16.     On or about February 1, 2013, Co-Conspirator A falsely certified to the State of

Connecticut that between October 1, 2012 and December 30, 2012, the ECDC had used CDBG
                                                 3
fund for $16,951.13 of down payment assistance, when in fact approximately $16,280 of that

amount was used for Lamore's salary. Co-conspirator A also certified that $0 were spent on

administrative costs such as salaries.

          17.   On or about May 21, 2013, Co-Conspirator A falsely certified to the State of

Connecticut that between January 1, 2013 and March 31, 2013, the ECDC had used CDBG funds

for $10,838.69 of down payment assistance, when in fact approximately $10,360 of that amount

was used for Lamore's salary. Co-conspirator A also certified that $0 were spent on administrative

costs such as salaries.

          18.   On or about June 21, 2013, Co-Conspirator A signed a paycheck for Lamore,

misappropriating grant funds for Lamore's salary.

          19.   On or about May 20, 2015, Co-Conspirator A sent a requisition request to the State

of Connecticut that contained an invoice that Lamore had inflated by $2,700.

          20.   On or about July 1, 2015, Co-Conspirator A sent a requisition request to the State

of Connecticut that contained two separate invoices, each of which Lamore had inflated by

$1,000.

          21.   On or about March 8, 2017, I interviewed Lamore. During the interview, he

confessed to knowingly misappropriating grant funds to pay his salary and to falsifying the

aforementioned invoices.

          22.   I am aware that in order to violate § 666, the entity in question must receive more

than $10,000 of federal benefits in a one year period and the property stolen or embezzled must be

worth at least $5,000. According to my review of the records, the ECDC received more than


                                                 4
$90,000 in federal funds in 2013. Additionally, my calculations indicate that Lamore stole over

$95,000 from the ECDC through his fraudulent activity.

                                             Conclusion

        23.     The facts set forth in this affidavit establish probable cause to believe, and I do

believe, that Darrin Lamore committed theft from a program receiving federal funds in

violation of Title 18 United States Code, Section 666.

                                               Sealing

        24.     Because this Affidavit and the accompanying documents pertain to an ongoing

criminal investigation, and because disclosure of the information contained in these documents at

this time may compromise the investigation, I request that this Affidavit, the arrest warrant

application and the non-disclosure order all be ordered sealed, until further order of the Court.



                                 <t--L~
                                 JAMES KAMINSKI
                                 SPECIAL AGENT
                                 FEDERAL BUREAU OF INVESTIGATION


Subscribed and Sworn to before me at New Haven, CT
this    ~        <.lay of~~ 2018

    /s/ Charles S. Haight, Jr.
H · ,~ ABLE HAR( Ests. ~IAJGHT
UNITED STATES DISTRICT JUDGE




                                                  5
